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                                COURTROOM MINUTE SHEET

                                                           DATE 4/7/15


CIVIL NO.   CIV-14-87-C             CRIMINAL NO.

  Andrew Cooke, et al      -vs- Equal Energy, LTD, et al.

United States -vs-


COMMENCED 9:30        ENDED 9:35                    TOTAL TIME      5 min

PROCEEDINGS Plaintiff’s Motion for Final Approval of Class Action Settlement



JUDGE ROBIN J. CAUTHRON          DEPUTY LINDA GOODE           REPORTER SHERRI GRUBBS

PLF. COUNSEL          Ellen Gusikoff Stewart



DFT COUNSEL Michael E. Smith, James E. Howard



WITNESSES FOR PLAINTIFF                        WITNESSES FOR DEFENDANT

1.                                             1.

2.                                             2.

3.                                             3.

4.                                             4.

5.                                             5.

ENTER AS ABOVE: cnsl apprs as above; court announces findings and approves

settlement.
